           Case 1:12-cr-00168-DAD-BAM Document 76 Filed 12/17/14 Page 1 of 1


 1

 2

 3

 4

 5

 6                               IN THE UNITED STATES DISTRICT COURT

 7                                 EASTERN DISTRICT OF CALIFORNIA

 8
 9   UNITED STATES OF AMERICA,                         CASE NO. 1:12-CR-00168-LJO-BAM-1

10
                                  Plaintiff,           ORDER OF DISMISSAL AS TO DEFENDANT
11                                                     SHIRLEY KAY DAVIDSON
                            v.
12
     SHIRLEY KAY DAVIDSON,
13
                                  Defendant.
14

15
16
            Based on the government’s motion filed on December 16, 2013, and for good cause shown, IT IS
17
     HEREBY ORDERED THAT the charges in the indictment against defendant Shirley Kay Davidson are
18
     dismissed, and all remaining charges against co-defendant James Giulio Davidson shall remain in effect.
19

20
     IT IS SO ORDERED.
21
     Dated: December 17, 2014
22                                              SENIOR DISTRICT JUDGE
23

24

25

26
27

28

                                                        1
